          Case 24-42473             Doc 1           Filed 07/16/24 Entered 07/16/24 07:08:28                             Main Document
                                                                 Pg 1 of 13
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________
  Eastern             District of _________________
                                  Missouri
                                        (State)
 Case number (If known): _________________________
                          24-                      Chapter _____
                                                            11                                                                     Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Midwest Christian Villages, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             d/b/a Christian Horizons
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___ 6 – ___
                                                       0 ___
                                                          2 ___
                                                             7 ___
                                                                5 ___
                                                                   0 ___
                                                                      0 ___
                                                                         9
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              2 Cityplace Dr
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 200
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              St. Louis,                  MO 63141-7390
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              St. Louis City
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://christianhorizonsliving.org
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 24-42473              Doc 1      Filed 07/16/24 Entered 07/16/24 07:08:28                              Main Document
                                                             Pg 2 of 13
Debtor        _______________________________________________________
              Midwest Christian Villages, Inc.                                              Case number (if known)_____________________________________
                                                                                                                    24-
              Name




 6.   Type of debtor
                                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          ■



                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          ■


                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          ■



                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               6 ___
                                              ___ 2 ___
                                                     3 ___
                                                        3

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                          ■

      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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Debtor         _______________________________________________________
               Midwest Christian Villages, Inc.                                               Case number (if known)_____________________________________
                                                                                                                     24-
               Name



 9.   Were prior bankruptcy cases           No
                                            ■

      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

 10. Are any bankruptcy cases               No
      pending or being filed by a
      business partner or an               
                                           ■
                                             Yes. Debtor _____________________________________________
                                                         See Schedule 1, attached.                     Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________



 11. Why is the case filed in this         Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            ■

                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have            No
                                            ■

      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                               Number         Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________        _______ ________________
                                                                               City                                           State ZIP Code


                                                     Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




              Statistical and administrative information




 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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Debtor      _______________________________________________________
            Midwest  Christian Villages, Inc.                                                    Case number (if known)_____________________________________
                                                                                                                        24-
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          ■


                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                                1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99
                                          ■
                                                                               5,001-10,000                               50,001-100,000
     creditors
                                          100-199                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                          $1,000,001-$10 million
                                                                               ■
                                                                                                                           $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million
                                                                               ■
                                                                                                                           $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          07/16/2024
                                              Executed on _________________
                                                          MM / DD / YYYY


                                             _____________________________________________                 Kate Bertram
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name


                                              Title _________________________________________
                                                     Chief Operating Officer




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Debtor      _______________________________________________________
            Midwest  Christian Villages, Inc.                                           Case number (if known)_____________________________________
                                                                                                               24-
            Name




 18. Signature of attorney
                                       /s/ David A. Sosne
                                          _____________________________________________            Date       07/16/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         David A. Sosne
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Summers Compton Wells LLC
                                         _________________________________________________________________________________________________
                                         Firm name

                                         _________________________________________________________________________________________________
                                         903 South Lindbergh Blvd., Suite 200
                                         Number     Street
                                         St. Louis,
                                         ____________________________________________________            MO
                                                                                                         ____________  63131
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         (314) 991 - 4999
                                         ____________________________________                             dsosne@scw.law
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         28365
                                         ______________________________________________________  MO
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                              Schedule 1
            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
         On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code in the United States Bankruptcy Court for the Eastern District
of Missouri. The Debtors have filed a motion requesting that the chapter 11 cases of these entities
be consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of
the Federal Rules of Bankruptcy Procedure.

                                       DEBTOR NAME                                  EIN NUMBER

     1.        Midwest Christian Villages, Inc., d/b/a Christian Horizons            XX-XXXXXXX

     2.        Hickory Point Christian Village, Inc., d/b/a Hickory Point            XX-XXXXXXX
               Christian Village – f/k/a Fair Havens Hickory Point Christian
               Village

     3.        Lewis Memorial Christian Village                                      XX-XXXXXXX

     4.        Senior Care Pharmacy Services, LLC                                    XX-XXXXXXX

     5.        New Horizons PACE MO, LLC                                             XX-XXXXXXX

     6.        Risen Son Christian Village                                           XX-XXXXXXX

     7.        Spring River Christian Village, Inc.                                  XX-XXXXXXX

     8.        Christian Homes, Inc., d/b/a The Christian Village, d/b/a             XX-XXXXXXX
               Washington Christian Village and d/b/a Wabash Christian
               Village

     9.        Crown Point Christian Village, Inc., f/k/a Chicago Land Christian     XX-XXXXXXX
               Village, Inc.

     10.       Hoosier Christian Village, Inc., d/b/a Hoosier Christian Village      XX-XXXXXXX

     11.       Johnson Christian Village Care Center, LLC d/b/a Johnson              XX-XXXXXXX
               Christian Village

     12.       River Birch Christian Village, LLC d/b/a River Birch Living,          XX-XXXXXXX
               d/b/a The Ambrose at Panther Creek

     13.       Washington Village Estates, LLC                                       XX-XXXXXXX

     14.       Christian Horizons Living, LLC f/k/a Christian Horizons LLC           XX-XXXXXXX




US_ACTIVE\126905165\V-2
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     15.       Wabash Christian Therapy and Medical Clinic, LLC d/b/a          XX-XXXXXXX
               Wabash Christian Therapy

     16.       Wabash Christian Village Apartments, LLC                        XX-XXXXXXX

     17.       Wabash Estates, LLC                                             XX-XXXXXXX

     18.       Safe Haven Hospice of Southern Illinois, LLC                    XX-XXXXXXX

     19.       Heartland Christian Village, LLC                                XX-XXXXXXX

     20.       Midwest Senior Ministries, Inc.                                 XX-XXXXXXX

     21.       Shawnee Christian Nursing Center, LLC d/b/a Shawnee Christian   XX-XXXXXXX
               Village




US_ACTIVE\126905165\V-2
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        V. Scott Williams
              Case 24-42473                  Doc 1       Filed 07/16/24 Entered 07/16/24 07:08:28                                   Main Document
                                                                     Pg 10 of 13
       Fill in this information to identify the case:

       Debtor name   Midwest Christian Villages, Inc.
       United States Bankruptcy Court for the:                        District of   Missouri
                                                                                      (State)                                                       Check if this is an
       Case number (If known):    24-                                                                                                               amended filing




Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Consolidated Creditors Who Have the 30
 Largest Unsecured Claims and Are Not Insiders                                 12/15

 A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest
 unsecured claims.


     Name of creditor and complete               Name, telephone number, and email              Nature of       Indicate if   Amount of unsecured claim
     mailing address, including zip              address of creditor contact                    the claim       claim is      If the claim is fully unsecured, fill in only
     code                                                                                       (for example,   contingent,   unsecured claim amount. If claim is
                                                                                                trade debts,    unliquidated, partially secured, fill in total claim
                                                                                                bank loans,     or disputed   amount and deduction for value of
                                                                                                professional                  collateral or setoff to calculate
                                                                                                services, and                 unsecured claim.
                                                                                                government
                                                                                                contracts)                       Total     Deduction Unsecured
                                                                                                                                 claim, if for value claim
                                                                                                                                 partially of
                                                                                                                                 secured collateral
                                                                                                                                           or setoff
           Derek Hopp as Executor of the
           Estate of                             Laura Castagna
1.         c/o Kelly & Castagna LLC              Email: laura@injurylawbloomington.com            Litigation                                               $1,666,839.89
           121 N Main St. Fl 3
           Bloomington, IL 61701
           Select Rehabilitation, LLC
                                                 Timothy Makowski
           PO Box 71985                                                                            Trade
2.                                               Email: tim.makowski@selectrehab.com                                                                       $1,227,534.74
           Chicago, IL 60694                                                                      Payables

           Aegis Therapies Inc
                                                 Barbara Duvall
           4933 Old Greendwood Road                                                                Trade
3.         Fort Smith, AR 72903
                                                 Email: Barbara.Duvall@aegistherapies.com
                                                                                                  Payables
                                                                                                                                                           $1,012,589.61


                                                 David Albrecht
           AmerisourceBergen
                                                 Email:                                            Trade
4.         905 N Main Street
                                                 david.albrecht@astrupcompanies.com               Payables
                                                                                                                                                            $444,051.37
           Austin, MN 55912

           AETNA                                 Robert Chibbaro
                                                                                                   Trade
5.         PO Box 804735                         Email: ChibbaroR1@aetna.com
                                                                                                  Payables
                                                                                                                                                            $438,133.10
           Chicago, IL 60680

           Shores Builders Inc.                  Gregory S. McCoy
                                                                                                   Trade
6.         2222 East McCord Street               Email: gmccoy@shoresbuilders.com
                                                                                                  Payables
                                                                                                                                                            $396,086.61
           Centralia, IL 62801

           Macon County Collector
7.         141 S Main St, Room 302               John D. Jackson                                   Taxes                                                    $381,474.06
           Decatur, IL 62523

          Michael Colliver & Jacqueline
          Boring, FO                      Jaime Koziol Delaney
8.        c/o Levin & Perconti            Email: jak@levinperconti.com               Litigation                                                             $350,000.00
          325 North LaSalle, Suite 300
          Chicago, IL 60654
Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                            Page 1
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Debtor:        Midwest Christian Villages, Inc.                                            Case number (if known) 24-               _
               Name



          Gordon Food Service, Inc.       Chris Pitcher
                                                                                   Trade
 9.       342 Gordon Industrial Way       Email: jak@levinperconti.com
                                                                                  Payables
                                                                                                                              $342,057.70
          Shepherdsville, KY 40165

          Synergi Partners Inc
                                          Aaron Platt
          PO Box 5599                                                              Trade
 10.      Florence, SC 29502
                                          Email: aplatt@synergipartners.com
                                                                                  Payables
                                                                                                                              $300,704.28


          Holladay Construction Group
          LLC                             Shannon Hyduk
                                                                                   Trade
 11.      3454 Douglas Road               Email: shyduk@hcgllc.net
                                                                                  Payables
                                                                                                                              $268,576.66
          Ste 250
          South Bend, IN 46635
          Sangamon County Tax
          Collector
 12.      200 S 9th Street
                                          Joe Aiello                                 Tax                                      $221,787.36
          Springfield, IL 62701

          Sentinel Technologies, Inc.     Michelle Knapczyk
                                                                                   Trade
 13.      PO Box 85080                    Email: mknapczyk@sentinel.com
                                                                                  Payables
                                                                                                                              $188,741.48
          Chicago, IL 60680

          Medline Industries, Inc.
          Lockbox 14400                   John Cervino
                                                                                   Trade
 14.      5505 N Cumberland Ave           Email: jcervino@medline.com
                                                                                  Payables
                                                                                                                              $185,858.25
          Ste 307
          Chicago, IL 60656

          Resident #1 - Hickory Point
                                                                                  Resident
 15.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $175,579.20
          [REDACTED]

          Resident #2 - Hickory Point
                                                                                  Resident
 16.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $175.572.00
          [REDACTED]

          Resident #3 - Hickory Point
                                                                                  Resident
 17.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $175.572.00
          [REDACTED]

          Resident #4 - Hickory Point
                                                                                  Resident
 18.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $170,465.40
          [REDACTED]

          Resident #5 - Hickory Point
                                                                                  Resident
 19.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $170,458.20
          [REDACTED]

          Resident #6 - Lewis Memorial
                                                                                  Resident
 20.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $167,300.10
          [REDACTED]

          Resident #7 - Lewis Memorial
                                                                                  Resident
 21.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $162,427.50
          [REDACTED]

          Resident #8 - Lewis Memorial
                                                                                  Resident
 22.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $160,224.30
          [REDACTED]

          Resident #9 - Hickory Point
                                                                                  Resident
 23.      Christian Village               [REDACTED]
                                                                                  Deposit
                                                                                                                              $154,782.00
          [REDACTED]




 Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims             Page 2
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Debtor:        Midwest Christian Villages, Inc.                                           Case number (if known) 24-               _
               Name



          Resident #10 - Hickory Point
                                                                                  Resident
 24.      Christian Village                [REDACTED]
                                                                                  Deposit
                                                                                                                             $138,330.00
          [REDACTED]

          Resident #11 - Risen Son
                                                                                  Resident
 25.      Christian Village                [REDACTED]
                                                                                  Deposit
                                                                                                                             $136,019.70
          [REDACTED]

          Resident #12 - Hickory Point
                                                                                  Resident
 26.      Christian Village                [REDACTED]
                                                                                  Deposit
                                                                                                                             $135,249.30
          [REDACTED]

          Resident #13 - Hickory Point
                                                                                  Resident
 27.      Christian Village                [REDACTED]
                                                                                  Deposit
                                                                                                                             $135,249.30
          [REDACTED]

          Resident #14 - Risen Son
                                                                                  Resident
 28.      Christian Village                [REDACTED]
                                                                                  Deposit
                                                                                                                             $132,016.50
          [REDACTED]

          Resident #15 - Lewis Memorial
                                                                                  Resident
 29.      Christian Village                [REDACTED]
                                                                                  Deposit
                                                                                                                             $128,520.00
          [Redacted]

          Resident #16 -Crown Point
          Christian Village                                                       Resident
 30.      [REDACTED}
                                           [REDACTED]
                                                                                  Deposit
                                                                                                                             $120,678.50




 Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims            Page 3
          Case 24-42473                 Doc 1     Filed 07/16/24 Entered 07/16/24 07:08:28                              Main Document
                                                              Pg 13 of 13
 Fill in this information to identify the case and this filing:


             Midwest Christian Villages, Inc.
 Debtor Name __________________________________________________________________

                                           Eastern
 United States Bankruptcy Court for the: ______________________              Missouri
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          ■




          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    07/16/2024
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Kate Bertram
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Operating Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
